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            ORDERED in the Southern District of Florida on September 13, 2019.




                                                          Erik P. Kimball, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                                                      CASE NO.: 18-10303-BKC-EPK
                                                                   PROCEEDING UNDER CHAPTER 13

   IN RE:

   FLORANCE GENE THOMPSON
   XXX-XX-5046

   _____________________________/
   DEBTOR

                           ORDER SUSTAINING OBJECTION TO CLAIM

      THIS CAUSE came to be heard on the September 9, 2019 Consent Calendar without opposition on
   Robin R. Weiner, Standing Chapter 13 Trustee's ("Trustee") Objection to Claim of STATE OF MICHIGAN
   DEPARTMENT OF TREASURY, and based on the record, it is

      ORDERED:

      1. The Trustee's Objection is SUSTAINED.

      2. Court Claim number 8, filed by STATE OF MICHIGAN DEPARTMENT OF TREASURY is
         stricken and disallowed.

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                                                       ORDER SUSTAINING OBJECTION TO CLAIM
                                                                  CASE NO.: 18-10303-BKC-EPK

ORDER SUBMITTED BY:

ROBIN R. WEINER, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 559007
FORT LAUDERDALE, FL 33355-9007
954-382-2001

COPIES FURNISHED TO:

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CREDITOR
STATE OF MICHIGAN DEPARTMENT OF TREASURY
POB 30456
LANSING, MI 48909-7955

ADDITIONAL CREDITORS
MICHIGAN DEPARTMENT OF TREASURY
3030 S GRAND BLVD STE 10-200
DETROIT, MI 48202

ROBIN R. WEINER IS DIRECTED TO SERVE COPIES OF THIS ORDER UPON THE PARTIES
LISTED AND FILE A CERTIFICATE OF SERVICE.
